             Case: 1:10-cr-00098-SSB Doc #: 362 Filed: 02/03/15 Page: 1 of 1 PAGEID #: 4848
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)       Page 1of2(Page 2 Not for Public Disclosure)


                                       United States District Court
                                                                       for the

                                                           Southern District of Ohio


                   United States of America
                                  v.                                      )
                           LesterSadler                                   )
                                                                              Case No:        l:10-CR-98-02
                                                                          )
                                                                          )   USMNo:         68802-061           ____
Date of Original Judgment:        12-03-2012                              )
Date ofPrevious Amended Judgment:                                         )   Gordon G. Hobson, Esq.
(Use Date ofLast AmendedJudgment ifAny)                                       Defendant'sAttorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(2)
       Upon motion of X the defendant O the Director of the Bureau ofPrisons • the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commissionpursuant to 28 U.S.C.
§ 994(u), and havingconsidered such motion, and takinginto account the policystatement set forthat USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          • DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of 151 months       months is reduced to              121 months
                                            (Complete Parts I and IIofPage 2 whenmotion is granted)




Except as otherwise provided, all provisions of thejudgment dated                          12-03-2012         shall remain in effect
IT IS SO ORDERED.

OrderDate:               February 2,2015                                                 ^
                                                                                              s^S'/G****'***'
                                                                                                Judges signature

Effective Date:         November 1,2015                                          Sandra S. Beckwith, SeniorU.S.DistrictJudge
                     (ifdifferent from orderdate)                                                 Printed name andtitle
